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             RABINOWITZ, LUBETKIN & TULLY, LLC
            293 Eisenhower Parkway, Suite 100                                                       Order Filed on February 24, 2019
            Livingston, NJ 07039                                                                    by Clerk U.S. Bankruptcy Court
                                                                                                          District of New Jersey
            (973) 597-9100
            Jay L. Lubetkin
            Proposed Counsel to Jay L. Lubetkin, Esq.,
            Chapter 7 Trustee
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